      Case 2:08-cr-00116-KJM Document 231 Filed 05/03/11 Page 1 of 3


 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2   SCOTT L. TEDMON, CA. BAR # 96171
     1050 Fulton Avenue, Suite 218
 3   Sacramento, California 95825
     Telephone: (916) 482-4545
 4   Facsimile: (916) 482-4550
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )
                                                   )
12                          Plaintiff,             )       No. 2:08-cr-00116 KJM
                                                   )
13                                                 )       STIPULATION AND ORDER
                    v.                             )       CONTINUING STATUS CONFERENCE;
14                                                 )       EXCLUSION OF TIME
     CHARLES HEAD, et al.,                         )
15                                                 )
                            Defendants.            )
16                                                 )
17          The United States of America, through Assistant U.S. Attorney Matthew Stegman, and
18   defendant Charles Head, through his counsel Scott L. Tedmon; defendant Keith Brotemarkle,
19   through his counsel Robert G. Gazley; defendant Benjamin Budoff, through his counsel Dwight M.
20   Samuel; defendant John Corcoran, through his counsel Matthew C. Bockmon; defendant Domonic
21   McCarns, through his counsel James R. Greiner; defendant Lisa Vang, through her counsel Timothy
22   E. Warriner; and defendant Kou Yang, through her counsel Joseph H. Low IV, hereby stipulate that
23   the Status Conference set for Thursday, May 12, 2011 at 10:00 a.m., be continued to Thursday, June
24   2, 2011 at 10:00 a.m. before United States District Judge Kimberly J. Mueller.
25          The government has provided over 290,000 pages of discovery to defense counsel. Counsel
26   for the various defendants are in the midst of reviewing this large volume of discovery and need
27   additional time to continue that process as well as identify legal issues, conduct defense
28   investigation, and discuss the matter with their respective clients.

                                                   - 1 -
      Case 2:08-cr-00116-KJM Document 231 Filed 05/03/11 Page 2 of 3


 1             As such, government and defense counsel stipulate it is appropriate to continue the current
 2   status conference to Thursday, June 2, 2011 at 10:00 a.m. Courtroom Deputy Clerk Casey Schultz
 3   has advised the Court is available for a status conference on the June 2, 2011. No jury trial date has
 4   been set in this case.
 5             The parties stipulate the Court should find that time be excluded through June 2, 2011 under
 6   the Speedy Trial Act based on complexity and the need of counsel to prepare pursuant to 18 U.S.C.
 7   §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local Code T4. The parties stipulate and agree that
 8   the interests of justice served by granting this continuance outweigh the best interests of the public
 9   and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
10             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
11   behalf.
12   IT IS SO STIPULATED.
13   DATED: May 2, 2011                              BENJAMIN B. WAGNER
                                                     United States Attorney
14
                                                     /s/ Matthew Stegman
15                                                   MATTHEW STEGMAN
                                                     Assistant U.S. Attorney
16
17   DATED: May 2, 2011                              LAW OFFICES OF SCOTT L. TEDMON
18                                                    /s/ Scott L. Tedmon
                                                     SCOTT L. TEDMON
19                                                   Attorney for Defendant Charles Head
20
     DATED: May 2, 2011                              LAW OFFICES OF ROBERT G. GAZLEY
21
                                                     /s/ Robert G. Gazley
22                                                   ROBERT G. GAZLEY
                                                     Attorney for Defendant Keith Brotemarkle
23
24   DATED: May 2, 2011                              LAW OFFICES OF DWIGHT M. SAMUEL
25                                                   /s/ Dwight M. Samuel
                                                     DWIGHT M. SAMUEL
26                                                   Attorney for Defendant Benjamin Budoff
27
28

                                                     - 2 -
      Case 2:08-cr-00116-KJM Document 231 Filed 05/03/11 Page 3 of 3


 1   DATED: May 2, 2011                           OFFICE OF THE FEDERAL DEFENDER
 2                                                /s/ Matthew C. Bockmon
                                                  MATTHEW C. BOCKMON
 3                                                Attorney for Defendant John Corcoran
 4
     DATED: May 2, 2011                           LAW OFFICES OF JAMES R. GREINER
 5
                                                   /s/ James R. Greiner
 6                                                JAMES R. GREINER
                                                  Attorney for Defendant Domonic McCarns
 7
 8   DATED: May 2, 2011                           LAW OFFICES OF TIMOTHY E. WARRINER
 9                                                /s/ Timothy E. Warriner
                                                  TIMOTHY E. WARRINER
10                                                Attorney for Defendant Lisa Vang
11
     DATED: May 2, 2011                           THE LAW FIRM OF JOSEPH H. LOW IV
12
                                                   /s/ Joseph H. Low IV
13                                                JOSEPH H. LOW IV
                                                  Attorney for Defendant Kou Yang
14
15
16
17                                               ORDER
18          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
19   ORDERED that the Status Conference now scheduled for Thursday, May 12, 2011 at 10:00 a.m.,
20   is hereby continued to Thursday, June 2, 2011 at 10:00 a.m., before the Honorable Kimberly J.
21   Mueller. Based upon the above stipulation, the Court finds that time be excluded under the Speedy
22   Trial Act for complexity and need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(ii)
23   and (iv), Local Code T2 and Local Code T4, through the Status Conference date of June 2, 2011.
24   The Court finds that the interests of justice served by granting this continuance outweigh the best
25   interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
26          IT IS SO ORDERED.
27   DATED: May 3, 2011.
28                                                       UNITED STATES DISTRICT JUDGE

                                                  - 3 -
